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                                 14                       UNITED STATES DISTRICT COURT
                                 15                      CENTRAL DISTRICT OF CALIFORNIA

                                 16    KATIE HILLER,                         Case No.:
                                 17                     Plaintiff,
                                                                             COMPLAINT FOR DAMAGES
                                 18                          v.              FOR VIOLATION OF:
                                 19                                            I.  THE TELEPHONE
                                       FIRST ELECTRONIC BANK,
                                                                                   CONSUMER
                                 20                                                PROTECTION ACT, 47
                                                        Defendant.
                                 21                                                U.S.C. § 227, ET SEQ.;
                                                                                   AND,
                                 22                                            II. THE ROSENTHAL FAIR
                                 23                                                DEBT COLLECTION
                                                                                   PRACTICES ACT, CAL.
                                 24                                                CIV. CODE §§ 1788, ET
                                 25                                                SEQ.

                                 26                                          JURY TRIAL DEMANDED
                                 27
                                 28
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                                  1                                           INTRODUCTION
                                  2    1.      Plaintiff KATIE HILLER (“Plaintiff”) through Plaintiff’s attorneys, brings this
                                  3            lawsuit to challenge the actions of Defendant FIRST ELECTRONIC BANK
                                  4            (“Defendant”) with regard to attempts by Defendant, a debt collector, to
                                  5            unlawfully and abusively collect a debt allegedly owed by Plaintiff, and this
                                  6            conduct caused Plaintiff damages through Defendant’s negligent and/or willful
                                  7            contact to Plaintiff’s cellular telephone in violation of the Telephone Consumer
                                  8            Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”).
                                  9    2.      The California legislature has determined that the banking and credit system
                                 10            and grantors of credit to consumers are dependent upon the collection of just
                                 11            and owing debts and that unfair or deceptive collection practices undermine the
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                                 12            public confidence that is essential to the continued functioning of the banking
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                                 13            and credit system and sound extensions of credit to consumers. The Legislature
                                 14            has further determined that there is a need to ensure that debt collectors exercise
                                 15            this responsibility with fairness, honesty, and due regard for the debtor’s rights
                                 16            and that debt collectors must be prohibited from engaging in unfair or deceptive
                                 17            acts or practices.1
                                 18    3.      Plaintiff makes these allegations on information and belief, with the exception
                                 19            of those allegations that pertain to Plaintiff, or to Plaintiff’s counsel, which
                                 20            Plaintiff alleges on personal knowledge.
                                 21    4.      While many violations are described below with specificity, this Complaint
                                 22            alleges violations of the statutes cited in their entirety.
                                 23    5.      Unless otherwise stated, Plaintiff alleges that any violations by Defendant were
                                 24            knowing and intentional, and that Defendant did not maintain procedures
                                 25            reasonably adapted to avoid any such violation.
                                 26    ///
                                 27    ///
                                 28    1
                                           Cal. Civ. Code §§ 1788.1 (a)-(b)
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                                  1    6.   Unless otherwise indicated, the use of any Defendant’s name in this Complaint
                                  2         includes all agents, employees, officers, members, directors, heirs, successors,
                                  3         assigns, principals, trustees, sureties, subrogees, representatives, and insurers of
                                  4         that Defendant named.
                                  5                                  JURISDICTION AND VENUE
                                  6    7.   This Court has federal question jurisdiction because this case arises out of
                                  7         violation of federal law. 47 U.S.C. §227(b); Mims v. Arrow Fin. Servs., LLC,
                                  8         132 S. Ct. 740 (2012).
                                  9    8.   This Court also has supplemental jurisdiction over Plaintiff’s California State
                                 10         Law causes of action pursuant to 28 U.S.C. § 1367.
                                 11    9.   Venue is proper in the United States District Court for the Central District of
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                                 12         California pursuant to 28 U.S.C. § 1391 for the following reasons: (i) Plaintiff
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                                 13         resides in the County of Orange, State of California which is within this judicial
                                 14         district; (ii) the conduct complained of herein occurred within this judicial
                                 15         district; and, (iii) many of the acts and transactions giving rise to this action
                                 16         occurred in this district because Defendant.
                                 17    10. This action arises out of Defendant’s violations of (i) the Telephone Consumer
                                 18         Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”); and, (ii) the Rosenthal Fair
                                 19         Debt Collection Practices Act, California Civil Code §§ 1788, et seq.
                                 20         (“RFDCPA”).
                                 21                                           PARTIES
                                 22    11. Plaintiff is a natural person who resides in the County of Orange, State of
                                 23         California, from whom a debt collector sought to collect a consumer debt which
                                 24         was due and owing or alleged to be due and owing from Plaintiff, and is a
                                 25         “debtor” as that term is defined by California Civil Code § 1788.2(h).
                                 26    12. Plaintiff is a “person” as defined by 47 U.S.C. § 153 (10).
                                 27    13. Plaintiff is informed and believes, and thereon alleges, that Defendant is located
                                 28         in the State of Utah and is a person as defined by 47 U.S.C. § 153 (10).

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                                  1    14. Plaintiff is informed and believes, and thereon alleges, that Defendant, in the
                                  2         ordinary course of business, regularly, on behalf of themselves or others,
                                  3         engage in “debt collection” as that term is defined by California Civil Code §
                                  4         1788.2(b), and is therefore a “debt collector” as that term is defined by
                                  5         California Civil Code § 1788.2(c).
                                  6    15. This case involves money, property or their equivalent, due or owing or alleged
                                  7         to be due or owing from a natural person by reason of a consumer credit
                                  8         transaction. As such, this action arises out of a “consumer debt” and “consumer
                                  9         credit” as those terms are defined by Cal. Civ. Code § 1788.2(f).
                                 10                                  FACTUAL ALLEGATIONS
                                 11    16. In or about 2014, an unknown individual is alleged to have incurred certain
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                                 12         financial obligations to Defendant, the original creditor, for a consumer debt.
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                                 13    17. At some point thereafter, the unknown individual allegedly fell behind in the
                                 14         payments allegedly owed on the alleged debt.
                                 15    18. Thereafter, Plaintiff began receiving telephonic communications from
                                 16         Defendant to collect this debt from Plaintiff.
                                 17    19. During each answered communication, Plaintiff informed Defendant that
                                 18         Plaintiff did not owe the debt and that Defendant must refrain from further
                                 19         communications to Plaintiff.
                                 20    20. Despite these statements, Defendant has continued to place telephonic
                                 21         communications to Plaintiff’s cellular telephone in an effort to collect a third
                                 22         party’s debt.
                                 23    21. Through this conduct, Defendant violated 15 U.S.C. § 1692d by engaging in
                                 24         conduct the natural consequence of which is to harass, oppress, and abuse
                                 25         Plaintiff in connection with the collection of a debt. This section is incorporated
                                 26         into the RFDCPA through Cal. Civ. Code § 1788.17; thus, Defendant also
                                 27         violated Cal. Civ. Code § 1788.17.
                                 28

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                                  1    22. Through this conduct, Defendant violated 15 U.S.C. § 1692d(5) by causing
                                  2         Plaintiff’s cellular telephone to ring repeatedly and continuously in connection
                                  3         with the collection of a debt. This section is incorporated into the RFDCPA
                                  4         through Cal. Civ. Code § 1788.17. Thus, Defendant has also violated Cal. Civ.
                                  5         Code § 1788.17.
                                  6    23. Through this conduct, Defendant violated 15 U.S.C. § 1692e(2)(A) by falsely
                                  7         representing the character, amount, and legal status of the debt as one owed by
                                  8         Plaintiff. This section is incorporated into the RFDCPA through Cal. Civ. Code
                                  9         § 1788.17. Thus, Defendant has also violated Cal. Civ. Code § 1788.17.
                                 10    24. Through this conduct, Defendant violated 15 U.S.C. § 1692e(10) by falsely
                                 11         representing that Plaintiff owed a debt to Defendant.             This section is
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                                 12         incorporated into the RFDCPA through Cal. Civ. Code § 1788.17. Thus,
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                                 13         Defendant has also violated Cal. Civ. Code § 1788.17.
                                 14    25. Through this conduct, Defendant violated 15 U.S.C. § 1692f by using unfair
                                 15         and unconscionable means to collect Plaintiff’s debt.             This section is
                                 16         incorporated into the RFDCPA through Cal. Civ. Code § 1788.17. Thus,
                                 17         Defendant has also violated Cal. Civ. Code § 1788.17.
                                 18    26. Defendant used an “automatic telephone dialing system”, as defined by 47
                                 19         U.S.C. § 227(a)(1) to place the artificial or prerecorded messages to Plaintiff as
                                 20         prohibited by 47 U.S.C. § 227(b)(1)(A).
                                 21    27. This ATDS has the capacity to store or produce telephone numbers to be called,
                                 22         using a random or sequential number generator.
                                 23    28. On information and belief, Defendant’s telephone system utilized to contact
                                 24         Plaintiff is a predictive dialer.
                                 25    29. Defendant’s calls constituted calls that were not for emergency purposes as
                                 26         defined by 47 U.S.C. § 227(b)(1)(A)(i).
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                                 28

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                                  1    30. Defendant’s calls were placed to telephone number assigned to a cellular
                                  2         telephone service for which Plaintiff incur a charge for incoming calls pursuant
                                  3         to 47 U.S.C. § 227(b)(1).
                                  4    31. Defendant lacked “prior express consent” to contact Plaintiff on Plaintiff’s
                                  5         cellular telephone as described herein.
                                  6    32. To date, Plaintiff has received approximately thirty autodialed telephone calls
                                  7         on Plaintiff’s cellular telephones from Defendant.
                                  8    33. These telephone communications by Defendant, or its agent, violated 47 U.S.C.
                                  9         § 227(b)(1).
                                 10                          CAUSE OF ACTION CLAIMED BY PLAINTIFF
                                 11      NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
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                                 12                                     47 U.S.C. § 227 ET SEQ.
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                                 13                               [AGAINST ALL DEFENDANTS]
                                 14    34. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                                 15         as though fully stated herein.
                                 16    35. The foregoing acts and omissions of Defendant constitutes numerous and
                                 17         multiple negligent violations of the TCPA, including but not limited to each and
                                 18         every one of the above-cited provisions of 47 U.S.C. § 227 et seq.
                                 19    36. As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq,
                                 20         Plaintiff is entitled to an award of $500.00 in statutory damages, for each and
                                 21         every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
                                 22    37. Plaintiff is also entitled to and seek injunctive relief prohibiting such conduct
                                 23         in the future.
                                 24
                                 25
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                                  1       KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE CONSUMER
                                  2                                     PROTECTION ACT
                                  3                                   47 U.S.C. § 227 ET SEQ.
                                  4                                [AGAINST ALL DEFENDANTS]
                                  5    38. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                                  6         as though fully stated herein.
                                  7    39. The foregoing acts and omissions of Defendant constitutes numerous and
                                  8         multiple knowing and/or willful violations of the TCPA, including but not
                                  9         limited to each and every one of the above-cited provisions of 47 U.S.C. § 227
                                 10         et seq.
                                 11    40. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227
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                                 12         et seq, Plaintiff is entitled to an award of $1,500.00 in statutory damages, for
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                                 13         each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C.
                                 14         § 227(b)(3)(C).
                                 15    41. Plaintiff is also entitled to and seek injunctive relief prohibiting such conduct
                                 16         in the future.
                                 17       VIOLATION OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
                                 18                          Cal. Civ. Code §§ 1788-1788.32 (RFDCPA)
                                 19                                [AGAINST ALL DEFENDANTS]
                                 20    42. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                                 21         as though fully stated herein.
                                 22    43. The foregoing acts and omissions constitute numerous and multiple violations
                                 23         of the RFDCPA.
                                 24    44. As a result of each and every violation of the RFDCPA, Plaintiff is entitled to
                                 25         any actual damages pursuant to Cal. Civ. Code § 1788.30(a); statutory damages
                                 26         for a knowing or willful violation in the amount up to $1,000.00 pursuant to
                                 27         Cal. Civ. Code § 1788.30(b); and reasonable attorney’s fees and costs pursuant
                                 28         to Cal. Civ. Code § 1788.30(c) from each Defendant individually.

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                                  1                                     PRAYER FOR RELIEF
                                  2    WHEREFORE, Plaintiff prays that judgment be entered against Defendant for:
                                  3             • As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1),
                                  4                Plaintiff seeks $500.00 in statutory damages, for each and every violation,
                                  5                pursuant to 47 U.S.C. § 227(b)(3)(B);
                                  6             • As a result of Defendant’s knowing and/or willful violations of 47 U.S.C.
                                  7                § 227(b)(1), Plaintiff seeks $1,500.00 in statutory damages, for each and
                                  8                every violation, pursuant to 47 U.S.C. § 227(b)(3)(B);
                                  9             • Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
                                 10                conduct in the future;
                                 11             • An award of actual damages, in an amount to be determined at trial,
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                                 12                pursuant to Cal. Civ. Code § 1788.30(a), against each named Defendant
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                                 13                individually;
                                 14             • An award of statutory damages of $1,000.00, pursuant to Cal. Civ. Code
                                 15                § 1788.30(b), against each named Defendant individually;
                                 16             • An award of costs of litigation and reasonable attorney’s fees, pursuant to
                                 17                Cal. Civ. Code § 1788.30(c), against each named Defendant individually;
                                 18             • Any and all other relief that this Court deems just and proper.
                                 19                                         TRIAL BY JURY
                                 20    45. Pursuant to the seventh amendment to the Constitution of the United States of
                                 21         America, Plaintiff is entitled to, and demand, a trial by jury.
                                 22
                                       Dated: September 24, 2018                                     Respectfully submitted,
                                 23
                                 24                                                         KAZEROUNI LAW GROUP, APC
                                 25
                                                                                            By: ___/s/ Matthew M. Loker___
                                 26                                                               MATTHEW M. LOKER, ESQ.
                                                                                                   ATTORNEY FOR PLAINTIFF
                                 27
                                 28

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